 

Case 18-25382-|\/|Al\/| Doc 1 Filed 12/11/18 Page 1 016

Fi|l in this information to identify the case:

 

United States Bankruptcy Court for the:

 

Southern Di$tl'icf Of Florida
(srate)

Case number (/r/<nown) Chapter 11 m Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-lndividuals Fi|ing for Bankruptcy 04/16

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, lnstructions for Bankruptcy Forms for Non-lndividua/s, is available.

 

1
1' Debtor S name PB Pied~de`l'erre, LLC

 

2. All other names debtor used
in the last 8 years

 

 

 

include any assumed names,
trade names, and doing business
as names

 

 

3. Debtor’s federal Emp|oyer
|dentihcation Number (ElN) _ ~ _______

4. Debtor’$ address Principal place of business Mailing address, if different from principal place
of business

235 Sunrise Ave

 

Number Street

 

Number Street

611266
2245 A and B

 

PO. Bo)<

 

I\'orth Miami, Florida 33261
Palm Beach . F]orlda 33480

 

 

 

 

 

 

Clt\/ State ZlP Code
City State ZlP Code

Location of principal assets, if different from
PALM BEA(;H principal place of business
County

Number Street

Ciiy S`laie ZiP Cuu'e

s. Debtor’s website (URL) _Nowpplmble

 

doorpmamm <including Limited Liabimy company (LLC) and Limited Liabimy Pannership (LLP))
D Partnership (exciuding LLP)
El other. specify:

s. Type of debtor

 

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DebiOr PB PlED'DE¢TERRE

Case number rif xnpwn>

 

Name

7. Describe debtor‘s business

a. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases, attach a
separate iist.

10. Are any bankruptcy cases
pending or being filed bya
business partner or an
affiliate of the debtor?

List all cases. |f more than 1,
attach a separate iist.

Ofncia| Form 201

A. Check one:

El Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))

BSingle Asset Rea| Estate (as defined in 11 U.S.C. §
101(51B))

m Railroad (as defined in 11 U.S.C. § 101(44))

El Stockbroker (as defined in 11 U.S.C. § 101(53A))

El Commodity Broker (as defined in 11 U.S.C. § 101(6))
m Clearing Bank (as defined in 11 U.S.C. § 781(3))

n None of the ahove

B. Check a// that app/y;

Cl Tax-exempt entity (as described in 26 U.S.C, § 501)

El investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

n investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NA|CS (North Amen'can industry Classif'ication System) 4-digit code that best describes debtor. See

. ' »‘i l '.i ‘ l. f:|..'ll-tlt'

         

    
 

 

Check one.'

El Chapter 7
Ci chapter 9
l oha pter 1 1 . check a// that app/y;

m Debtor’s aggregate noncontingent liquidated debts (exciuding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

MThe debtor is a small business debtor as defined in 11 U,S.C. § 101(51D). |fthe
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all ofthese
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Ci A plan is being med with this petition

n Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

n The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Pet/`t/'on for Non-/nd/'v/`dua/s Fi/ing
for Bankruptcy under Chapter 11 (Officiai Form 201A) with this form.

n The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

12b-2.
n Chapter 12
NNO
m Yes. District When Case number
MM / DD / YYYY
District When Case number
NlNl/ DD/YYYY
w No
n Yes. Debtor Relationship
District When

 

MM / DD /YYYY
Case number, if Known

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Debtor PB PIED' DE¢TERRE Case number irknown)

 

 

Narl'le

11. Why is the case filed in this Check all that apPl)/-'

district?

MDebtor has had its domiciie, principal place of business, or principal assets in this district for 180 days
immediately preceding the date ofthis petition or for a longer part of such 180 days than in any other
district

n A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district

12. Does the debtor own or have BN°
possession of any real
property or personal property

that needs immediate Why does the property need immediate attention? (Check a// ihaiapply,)
attention?

n Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

n it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard'?

 

n lt needs to be physically secured or protected from the weather.

n it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for exampie, |ivestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

E] Other

 

Where is the property?
Number Street

 

 

 

City State Z|P Code

is the property insured?

UNo

El Yes. insurance agency

 

Contact name

 

Phone

-:tatistica| and administrative information

13. Debtor’s estimation of Check one:

ava"ab'e funds B Funds will be available for distribution to unsecured creditors

a After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors

_ B1-49 E| 1,0005,000 E| 25,001-50,000
1“' Est":"ated number °f E| 50-99 E| 5,001-10,000 E| 50,001-100,000
°'ed‘t°'$ E| 100-199 E| 10,001-25,000 E| More than 100,000
E| 200-999
_ E| $0-$50,000 E| $1,000,001-$10 million E| $500,000,001-$1 billion
‘5' Est’mated assets E| $50,001-$100,000 E| $10,000,001-$50 million E| $1,000,000,001-$10 billion
100,001-$500,000 E| $50,000,001-$100 million El $10,000,000,001-$50 billion
E| $500,001-$1 million E| $100,000,001-$500 million E| More than $50 billion

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Debtor PB PIED/DE¢TERRE Case number lninownl
Name
_ _ _ _ _ EJ $0-$50,000 Ci $1,000,001-310 million Ci $500,000,001-$1 billion
16' E$t'mated "ab"'t'e$ $50,001-$100,000 Ei $10,000,001-$50 million Ei $1,000,000,001-$10 billion
E.`i $100,001-$500,000 Ei $50\000,001-$100 million Ei sio,ooo,ooo,ooi-$SO billion
EJ $500,001-$1 million Ei $100,000,001-$500 million Ei More than $50 billion

- Request for Re|ief, Declaration, and $ignatures

WARNiNG - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17- Dec|ar_ati°n and Signat'_~"e of l The debtor requests relief in accordance with the chapter oftitle 11, United States Code, specihed in this
authorized representative of

  
     
 

 
    

  

 

 
  

 

 

 

 

 

 

 

 

debtor petition.

n l have been authorized to file this petition on behalf of the debtor.

l i have examined the information in this petition and have a reasonable belief that the information is true and
correct

| declare under penalty of perjury that the foregoing is true and correct.
Executed on fl l 0 l

Mlvi / DD
1 / ' , _`
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x /1/!;.1,,,%4§'-'.4/4 »."! / pf 751 /
. ' , -,"’ ?»"l-’i-/~' ~'ebr Prlnted name
Title
18. Si natu eof orne
g r an y x Date

Slgnature of attorney for debtor MM /DD /YYYY
Printed name
Flrm name
Number Street
Clty State Z|P Code
Coniact phone Emal| address
Bar number State

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United States Bankruptcy Court
Southern District cf Fioridd
Midmi Divisicn

in Re; Case number:

PB Pied~de~ierre, LLC Chapter 11

 

List cf Creditors

1. VFS ArCtOS, LLC
C/o DeLucd Law Group, PLLC
Judah Soiomon, Esq.
2101 NE 26"*"1 Street
Ft. Lduderdaie, FL 33305

2. Paim Bedch Hctei Condominium Assn
235 Sunrise Avenue
Palm Beach. FL 33480

3. internal Revenue Service

31 Hopkins Avenue
Baltinbre. MD 21201

Dated: l 31 )5> z / 67 /5/ deid M. Goldstein, Esq.
DAVID M_ GOLDSTEiN, ESO.

Fioridd Bdr No: 156003

 

The haw Office of Uavid M. Goldsiein, P.A.
P.O. BOX 611266

North Midmi, FL 33261

Teiephnne: (305) 372"3535

Facsimile: (305) 974»2094
ngjd@dm\pd»ccm

 

 

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United States Bankruptcy Court
Southern District of Fiorida

In re Case No.
i)cbtol(s) Chapter 11

 

STATEMENT REGARDING AUTHORITY TO SIGN AND FlLE PETITION

l7 , declare under penalty ot`perjury that l am the of Test, and that the following is a true and correct
copy of the resolutions adopted by the Board of Directors of said corporation at a special meeting duly called
and held on the n_//day ofj_l ZOLV

“Whereas, it is in the best interest ofthis corporation to file a voluntary petition in the United States
Bankruptcy Couit pursuant to Chapter l l ot` Title ll of the United States Code;

Be lt Therefore Resolved, that , of this Corporation, is authorized and directed to execute and deliver all
documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on behalf of the
corporation; and

Be lt Futther Resolved, that , of this Corporation is authorized and directed to appear in all bankruptcy
proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds and to execute and
deliver all necessary documents on behalf of the corporation in connection with such bankruptcy case, and

Be lt Further Resolved, that , of this Corporation is authorized and directed to employ , attorney
and the law firm of to represent the corporation in such bankruptcy c . "

Date ]}jrljd l g Signed /S’j/

     

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